 

ease 1 :07-cv-06517 DocuMIH$SHOJF'iMIWPB/zo 1515§§§3| QMVHH
'S,'].I_\;.LS HHO.»\ SHHlH:JS§Cl .LVH.]. .'\\O"l§lg XOH BH.]. H:):~I_HD ‘:~ISV;) FIVNI['\"IH:) \" Sl SIH_L _~I]

 

E|O.-\" |:|SELK £._kH.\iHOlLV` `IVIH_I_ ElH_I_ S‘v" _LD\‘-` _”lOA _I`II.-\\ a`I‘r'lk{_l_ SELHJ\“-'E{H HSV§) SIH_L :I|

 

 

 

 

|:|0§-531\ gave WIHL s‘lmc)g 31le 30 3331-rm v _10.\ guy
E|ON :| Szm 321ng SIHL xi nsmo:) wood Sv Dxu;)w' _10.\ nw
ON l:]s;l,\ I;EISV:) sun m ns_\¢no:) av;n s\" 01\'113\; _10_\ nw

1359-as (zI§) 66€§319

HEIHD\L="L\’ ':INOHdElT:IL (S£\‘OIJ_'.`)HHJ.S.`\`] .‘\`l § l'\":{ll :-IHS} };IE[‘E]\\`.'\_\' (]|

 

 

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‘uo;lejod.lo:) ug;eloal 12 ";)11] "\-."'g'{l 113qu QLuOH

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puc)B lr§ lequlaul la eq large lsnul ,(911101412 ue uno:) s_rq1 elojeq Jeadde 01 JQpJO 111 :;[l@;\r

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SIO-.\ZITU .LIO lDIHl.SI(I NHEI'H.I.HON E[Hl HO;I lHi]OJ lJIHlSI([ 'S`.]

 

